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                                   14   Attorneys for Plaintiffs

                                   15                                UNITED STATES DISTRICT COURT

                                   16               NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION

                                   17   CRISTIAN KELLY and KENNETH THALL,           Case No. 4:21-cv-06010-JST
                                        individually and on behalf of all others
                                   18   similarly situated,                         NOTICE OF VOLUNTARY DISMISSAL

                                   19                  Plaintiffs,                  Fed. R. Civ. P. 41(a)(1)(A)(i)
                                   20          v.
                                                                                    CLASS ACTION
                                   21   COINBASE GLOBAL, INC.; COINBASE,
                                        INC.,
                                   22                                               District Judge Jon S. Tigar
                                                       Defendants.                  Courtroom 6, 2nd Floor
                                   23

                                   24                                               Complaint Filed:      August 3, 2021
                                                                                    Trial Date:           Not Set Yet
                                   25
                                                                                    JURY TRIAL DEMANDED
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                                                                                                         Case No. 4:21-cv-06010-JST
00182848                                                             NOTICE OF VOLUNTARY DISMISSAL
                                           Case 4:21-cv-06010-JST Document 19 Filed 09/24/21 Page 2 of 3



                                   1             By and through their counsel, Plaintiffs Cristian Kelly and Kenneth Thall, without waiving

                                   2   their rights as putative class members, hereby voluntarily dismiss their claims without prejudice,

                                   3   pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Each party to bear its own

                                   4   fees and costs. Defendants have not served an answer or a motion for summary judgment in this

                                   5   matter.

                                   6                                                   Respectfully submitted,

                                   7   Dated: September 24, 2021                        BLOOD HURST & O’REARDON, LLP
                                                                                        TIMOTHY G. BLOOD (149343)
                                   8                                                    THOMAS J. O’REARDON II (247952)
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                                   9
                                  10                                                    By:            s/ Timothy G. Blood
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                                                                                        Attorneys for Plaintiffs
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                                                                                          1                        Case No. 4:21-cv-06010-JST
00182848                                                               NOTICE OF VOLUNTARY DMISSAL
                                           Case 4:21-cv-06010-JST Document 19 Filed 09/24/21 Page 3 of 3



                                   1                                    CERTIFICATE OF SERVICE

                                   2          I hereby certify that on September 24, 2021, I electronically filed the foregoing with the

                                   3   Clerk of the Court using the CM/ECF system which will send notification of such filing to the e-

                                   4   mail addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have mailed

                                   5   the foregoing document or paper via the United States Postal Service to the non-CM/ECF

                                   6   participants indicated on the Electronic Mail Notice List.

                                   7          I certify under penalty of perjury under the laws of the United States of America that the

                                   8   foregoing is true and correct. Executed on September 24, 2021.

                                   9
                                                                                                     s/ Timothy G. Blood
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00182848                                                              NOTICE OF VOLUNTARY DMISSAL
